Case 22-18303-JKS Doc 142-2 Filed 08/25/23 Entered 08/25/23 12:51:44                                    Desc
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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
ANDREW R. VARA
UNITED STATES TRUSTEE, REGIONS 3 AND 9
Peter J. D’Auria, Esq.
One Newark Center, Suite 2100
Newark, NJ 07102
Telephone: (973) 645-3014
Fax: (973) 645-5993
Email: Peter.J.D’Auria@usdoj.gov

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
____________________________________
                                        :
In re:                                  :   Chapter 11
                                        :
Alexandre Dacosta and                   :   Case No. 22-18303(JKS)
Viviane Antunes, et al.3,               :   (Jointly Administered)
                                        :
Debtors.                                :   Hearing Date: Sept. 26, 2023 at 10:00 AM
___________________________________ :


                       DECLARATION OF DANIEL C. KROPIEWNICKI


                 I, Daniel C. Kropiewnicki, of full age, hereby declare under penalty of perjury,

pursuant to 28 U.S.C. § 1746, as follows:

        1.       I am a Bankruptcy Analyst for the Office of the United States Trustee and have

full knowledge of the facts set forth herein.

        2.       On October 6, 2022, (the “Corporate Petition Date”), BAV Auto LLC (the

“Corporate Debtor”) filed a voluntary petition for relief under Chapter 11 of the Bankruptcy

Code under case number 22-17933(JKS) (the “Corporate Case”). See ECF No. 1 of the




3
 The jointly administered Debtors are Alexandre Dacosta and Vivianne Antunes, having SSNs with the last four
digits of 2325 and 0411, respectively, and BAV Auto, L.L.C., having a TIN with the last four digits 7479.
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Corporate Case. To date, the Corporate Debtor remains in possession of its property and

management of its affairs as a debtor-in-possession.

       3.      October 19, 2022, (the “Individuals Petition Date”), Alexandre J. Dacosta and

Vivianne C. Antunes (the “Individual Debtors”) (the Corporate Debtor and the Individual

Debtors collectively referred to herein as the “Related Debtors”) filed a voluntary petition for

relief under Chapter 13 of the Bankruptcy Code under case number 22-18303(JKS) (the

“Individuals Case”). See ECF No. 1 of the Individuals Case. On December 20, 2022, the Court

entered an Order which converted the Individuals Case to a chapter 11 proceeding, and further

recognized the Individual Debtors choosing to proceed under subchapter V of the Bankruptcy

Code. See ECF No. 40 of the Individuals Case.

       4.      On February 13, 2023, the Court entered the Order Directing Joint

Administration of Chapter 11 Cases of BAV Auto, LLC and Alexandre Dacosta & Vivianne

Antunes (the “Joint Administration Order”). See ECF No. 81 of the Individuals Case.

       5.      On April 3, 2023, the Related Debtors filed the Jointly Administered Small

Business Debtors’ Second Modified Joint Plan of Reorganization (the “Second Modifed Plan”).

Plan. See ECF No. 105 of the Individuals Case.

       6.      A review of the docket of the Individual Case, as of this date, indicates that (i) on

February 24, 2023 the Corporate Debtor filed monthly operating reports for the months October

2022, November 2022, and December 2022 (the “October BAV MOR”, “November BAV

MOR”, and “December BAV MOR”, respectively) (ECF Nos. 84, 85, and 86, respectively), and

(ii) on March 2, 2023 the Corporate Debtor filed a monthly operating report for the month of

January 2023 (the “January BAV MOR”) (ECF No. 88 of the Individuals Case), and that (iii) the
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Corporate Debtor has not filed any monthly operating report for the months of February 2023

through July 2023 (inclusive).


I certify under penalty of perjury that the forgoing is true and correct to the best of my
knowledge.


                                               By:    /s/ Daniel C. Kropiewnicki
                                                       Daniel C. Kropiewnicki
                                                       Bankruptcy Analyst

Dated: August 25, 2023
